Case 2:90-cv-00520-KJM-SCR Document 3145-1 Filed 10/30/08 Pageiof8

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Case 2:90-cv-00520-Kallvi GaP vatlep HHaIH Ueetfospital Spee 20/30/08 Page 2 of 8

Department of Alcohol & Drug Services

ALCOHOL & DRUG SERVICES RESEARCH INSTITUTE

SANTA CLARA COUNTY, CALIFORNIA

The Network for the Improvement of Addiction Treatment (NIATx)
Preliminary Baseline Aims
(Fiscal Year 2007)

Prepared by: Jasmin Llamas, Data Analysis & Evaluation

The Network for the Improvement of Addiction Treatment (NIATx) aims to improve
access to and retention in addiction treatment, The four NIATx aims offer providers effective
ways to plan for, institute, and measure improvements in client access and relention. The aims

are as follows:

e Increase admissions to treatment

e Increase continuation from the first through the fourth treatment session

e Reduce the number of patients who do not keep an appointment (no-shows)

« Reduce waiting time between first request for service and ‘first treatment session

In order to increase client admissions, the number of current admission must be determined.
For the 2007 fiscal year the total number of admissions were calculated for each treatment
location (Table 1). Continuation rates were determiend by examining the number of clients
receiving more than four services within the first thirty days of treatmnet (Table 2). The number
of clients that missed scheduled services are calculated through no-shows (Table3). Currently,
not al] providers document this information in the Department of Alcohol and Drug’s (DADS)
information database. For this reason, information on this domain is limited. Finally, waittime
from assessment into treatment was caculated (Table 5-9). Information is provided by location,
so waitime only examined clicnts thal were referred to and centered a specific site. Some clicnis
may have been referred to a specific site, but for various reasons the client was admitted to a

different treatment tocation. For this report infonnation about these clients 1s not included.

-l- 5/12/2008
Garner 00164
Case 2:90-cv-00520-KJM-SCR Document 3145-1

Admissions
Table 1. Number of Admissions in Fiscal Year 2007.

Filed 10/30/08

Admissions
Location Modality FYO?
L-000040 - Central TAP - 976 Lenzen Ave Outpatient 631
L-000140 - Catholic Charities (4306) 2625 Zanker Rd Outpatient 215
L-000221 - (43AE) Blassoms - 3030 AlumRock Ave Outpatient 400
L-000222 - AACI/DADS - 2400 Moorpark Ave Outpatient 822
L-000249 - House on the Hill Residential 48
L-000346 - AARS Adult Outpatient 336
L-000280 - South County Clinic - 80 West Highland Ave [AMT 30
L-000280 - South County Clinic - 80 West Highland Ave {Detox 5
L-G00282 - Horizon South Detox 611
L-000282 - Horizon South Residential 308
L-000283 - FCS Outpatient 659
L-000375 - Manposa Ladge Detox 275
L-000315 - Mariposa Lodge Residential 525
L-000338 - CADS -OP Outpatient 130
L-000347 - Alexian EVC AMT 22
L-000347 - Alexian EVC Detox 0
L-000351 - Crossroads THU 228
L-000379 - ARH Benny McKeown Residential 2if
L-G00396 - Central Valley Clinic - 2425 Enborg AMT 65
L-G00396 - Central Valley Clinic - 2425 Enbarg Detox 128
L-000396 - Central Valley Clinic - 2425 Enborg OP PSAP 111
L-000396 - Central Valley Clinic - 2425 Enborg AMT PSAP 18
L-000427 - Indian Heaith Center Outpatient 111
L-000431 - ARH Tx Options Residential 398
L-000432 - 160 E Virginia/Gardner/(DADS Outpatient 273
L-000442 - East Valley Tx & Rec-2101 Alexian Dr., Ste B [Outpatient 444
L-000447 - North County - 231 Grant Ave Outpatient a7
L-000467 - InnVision/DADS THU 139
L-000515 - Proyecto Primavera Outpatient 780
L-000523 - Pathway Residential Residential 422
L-000524 - Pathway OP Ctr South County Outpatient 382
L-000397 - Pathway OP Santa Clara Outpatient 114
L-000426 - Pathway De La Cruz Outpatient 269
L-000535 - 3rd Street House/ Project Ninety (IJS) Residential 55
Total 8958

*Note: Clients can have more than one admission at a site within the same fiscal year.

5/12/2008

Page 3 of 8

Garner 00165
tte

Case 2:90-cv-00520-KJM-SCR Document 3145-1 Filed 10/30/08 Page 4of8

Continuation Rates

According to NIATx, continuation rates are measured by the number of clients who
teceived at least four services within the first 30 days of treatment. Only direct, face-to-face,
services were examined. Currently, residential and transitional housing units (THU’s) do not
input service information into the Department of Alcohol and Drug’s (DADS) information
database. For this reason, residential and THU sites were not included in the table.

Table 2. Number of Clients Receiving More than 4 and Less than 4 Direct Services within
the first 30 days of Treatment in Fiscal Year 2007.

4+ Services < 4 Services
Location N % N % Total (N)
1-000040 - Central TAP - 976 Lenzen Ave 336 ; 53.2% 295| 46.8%] 631
L-000140 - Catholic Charities (4306) 2625 Zanker Rd 134 | 62.3% B81) 37.7%) = 215
L-000221 - (43AE) Blossoms - 3030 AlumRock Ave 68 | 68.0% 32} 32.0%| 100
L-000222 - AACI/DADS - 2400 Moorpark Ave §35 | 65.1% 287| 34.9%) 822
L-G00251 - AARS The Place/DADS 1340 Tully Rd Suite 304) 36 | 64.3% 20| 35.7% 56
L-000280 - South County Clinic - 80 West Highland Ave 9 25.7% 26| 74.3% 35
L-G00283 - FCS 273 | 41.4% 386] 58.6%) 659
L-000338- CADS-OP_. 120 | 92.3% 10 7.7%| 130
L-000346 - AARS Adult 247 | 73.5% 89] 26.5%| 336
L-000347 - Alexian EVC 1 4.5% 21] 95.5% 22
L-000396 - Central Valley Clinic - 2425 Enborg 32 | 16.6% 161| 83.4%] 193
L-000396 - Central Valley Clinic - 2425 Enborg (PSAP) 108 | 83.7% 21} 16.3%) 129
L-000397 - Pathway OP Santa Clara 98 | 86.0% 16] 14.0%| 114
L-000426 - Pathway De La Cruz 225 | 83.6% 44, 16.4%) 269
L-000427 - indian Health Center 47 | 42.3% 64, 57.7%) 1711
L-000432 - 160 E Virginia/Gardner/DADS 204 | 74.7% 69] 25.3%! 273
L-000442 - East Valley Tx & Rec-2101 AlextanDr., SteB | 158 | 35.6% 286| 64.4%) 444
L-000447 - North County - 237 Grant Ave 38 | 43.7% 49) 56.3% a7
L-000515 - Proyecto Primavera 503 | 64.5% 277| 35.5%] 780
L-000524 - Pathway OP Ctr South County 283 | 74.1% 99} 25.9%) 382
Total|3455| 59.7% 2333| 40.3% 5788

-3- 5/12/2008

Garer/ 00166

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Case 2:90-cv-00520-KJM-SCR Document 3145-1

No-Shows

No-shows for this report have been defined as clients who did not keep a scheduled
service appointment. Currently, not all providers document no-show information in the DADS
information database. For this reason, information on this domain is limited. Also, residential

Filed 10/30/08

Page 5 of 8

and transitional housing units (THU’s) do not input service information into the DADS
information database and were not included in the table.

Table 3. Number of No Shows in Fiscal Year 2007.

No Shows

Location
L-000140 - Catholic Charities (4306) 2625 Zanker Rd 6
L-000222 - AACI/DADS - 2400 Moorpark Ave 84
L-000251 - AARS The Place/DADS 1340 Tully Rd Suite 304 98
L-000338 - CADS -OP 10
L-000346 - AARS Adult 171
L-000400 - CAPS -OP 55
L-000432 - 160 E Virginia/Gardner/DADS 81
L-000515 - Proyecto Primavera 441
L-000400 - CAPS -OP 0
L-000055 - Treatment Plus Care 1
L-000396 - Central Valley Clinic - 2425 Enborg 1
{-000583 - OTP (Case Management) 976 Lenzen SJ 3
Totall 951

5/12/2008

Garner 00167
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Case 2:90-cv-00520-KJM-SCR Document 3145-1

Wait time

Filed 10/30/08

Page 6 of 8

Wait (ime is the time elapsed between the date of a client’s first contact (assessment) and
the date of the client’s admission. For the purposes of this report, clients were tracked by

location, examining where clients were referred to at assessment and the length of time it took

for the client to be admitted to that treatment location. Some clients may have been reférred to a

specific site, but for various reasons the client was admitted to a different treatment location. For
this report information about these clients is not included. The first table below (Table 5) lists the
number of clients that were referred to and entered treatment at a specific location.

Table 4. Number of Clients Assessed, Number Clients Admitted, and Number of Clients

Assessed and Entering Treatment.

Assessment to
Location Modality [Assessments| Treatment
L-000040 - Central TAP - 976 Lenzen Ave Outpatient 720 375
L-000740 - Catholic Charities (4306) 2625 Zanker Rd Oulpatient 192 81
L-000221 - (43AE) Blossoms - 3030 AlumRock Ave Outpatient o7 sq
L-000222 - AACWVDADS - 2400 Moorpark Ave Outpatient 716 412
L-060249 - House on the Hill Residential 36 30
L-000346 - AARS Adult Qutpatient 292 118
L-000280 - South County Clinic - 80 West Highland Ave /AMT 22 9
L-000280 - South County Clinic - 80 West Highland Ave [Detox 23 4 _
L-000282 - Harizon South Detox 879 462
L-000282 - Horizon South Residential 115 a2
L-000283 - FCS Outpatient 704 415
L-000315 - Mariposa Lodge Detox 423 164
L-000315 - Mariposa Lodge Residential 307 238
L-00033§ - CADS -OP Outpatient 131 95
L-000347 - Alexian EVC AMT 11 1
L-000347 - Alexian EVC Detox 2 a
L-000379 - ARH Benny McKeown Residential 97 79
L-000396 - Central Valley Clinic - 2425 Enborg AMT 63 7
L-000396 - Central Valley Clinic - 2425 Enborg Detox 188 83
L-000396 - Central Valley Clinic - 2425 Enborg OP PSAP 81 35
L-000396 - Central Valley Clinic - 2425 Enborg AMT PSAP 3 1
L-000427 - Indian Health Center Outpatient 131 76
L-000431 - ARH Tx Options Residential 305 233
L-000432 - 160 E Virginia/Gardner/OADS Outpatient 160 104
L-000442 - East Valley Tx & Rec-2101 Alexian Dr,, Ste B Outpatient 701 300
L-000447 - North County - 231 Grant Ave Outpatient 7189 66
L-000575 - Proyecto Primavera Outpatient 1062 578
L-000523 - Pathway Residential Residential 265 188
L-000524 - Pathway OP Ctr South County Outpatient 514 262
L-000397 - Pathway OP Santa Clara Outpatient 361 70
L-000426 - Pathway De La Cruz Outpatient 411 70
L-000536 - 3rd Street House/ Project Ninety (JS) Residentiat 39 30
Total §950 4719
-5- 5/12/2008

Gainer/ 00168
Case 2:90-cv-00520-KJM-SCR Document 3145-1 Filed 10/30/08 Page /7of8

Below is the average number of days it took a client to enter treatment from assessment
to admission. The column labeled “Number Clients” represents the number of clients that were
assessed and entered the treatment location. The column labeled “Wait time” represents the
average number of days it took clients assessed to a specific treatment location to be admitted
into that treatment site. Average number of days are provided for each location by modality.
Clients with wait times over 90 days were excluded from this average.

Table 5. Average Number of Days from Assessment to Treatment at Outpatient Locations.

Location Modallty Number Clients | Wait time

L-000040 - Central TAP - 976 Lenzen Ave Qutpatient 375 ai
L-000140 - Catholic Charities (4306) 2625 Zanker Rd Outpatient 81 28
L-000221 - (43AE) Blossoms - 3030 AlumRock Ave Outpatient 54 24
L-000222 - AACI/DADS - 2400 Moorpark Ave Outpatient 412 27
L-000283- FCS Outpatient 415 31
L-000346 - AARS Adult Outpatient 118 26
L-000338 - CADS -OP Outpatient 95 a7
L-000396 - Central Valley Clinic - 2425 Enborg Outpatient PSAP 35 45
L-000427 - Indian Health Center Outpatient 76 37
L-000432 - 160,E Virginia/Gardner/DADS Outpatient 101 23
L-000442 - East Valley Tx & Rec-2101 Alexian Dr., Ste BlOutpatient 300 38
L-000447 - North County - 231 Grant Ave Outpatient 66 34
L-006515 - Proyecto Primavera Qutpatient 578 26
L-000524 - Pathway OP Ctr South County Qutpatient 262 38
L-000397 - Pathway OP Santa Clara Outpatient 70 46
L-000426 - Pathway De La Cruz Outpatient 70 : 28

Total 3108 33

Table 6. Average Number of Days from Assessment to Treatment at Residential Locations.

Location Modality [Number Clients; Wait time

L-000249 - House on the Hill Residential 30 6
L-000282 - Horizon South Residential 82 9
L-000315 - Mariposa Lodge Residential 238 8
L-000379 - ARH Benny McKeown Residential 79 12
L-000437 - ARH Tx Options Residential 233 15
L-000523 - Pathway Residential Residential 188 7
L-000535 - 3rd Street House/ Project Ninety (IJS)} Residential 30 7
Total 380 3

-6- 5/12/2008

Garner/ 00169
Case 2:90-cv-00520-KJM-SCR Document 3145-1

Filed 10/30/08

Page 8 of 8

Table 7, Average Number of Days from Assessment to Treatment at AMT Locations.

Location Modality |Number Clients} Wait time
1-000280 - South County Clinic - 80 West Highland AvelAMT 9 20
L-000347 - Alexian EVC AMT 1 5
L-000396 - Central Valley Clinic - 2425 Enborg AMT 7 45
L-000396 - Central Valley Clinic - 2425 Enborg AMT PSAP 1 41
Total 18 26

Table 8. Average Number of Days from Assessment to Treatment at Methodone Detox

Locations,
Location Modality |Number Ciients| Wait time
L-000280 - South County Clinic - 80 West Highland AvelAMT Detox 4 12
L-000396 - Central Valley Clinic - 2425 Enborg AMT Detox 83 21
Total 713 12

Table 9. Average Number of Days from Assessment to Treatment at Detox Locations.

Location Modality Number Clients Wait time
L-000282 - Honzon South Detox 462 5
L-000315 - Mariposa Lodge |Detox 164 9

Total 713 12

5/12/2008

Garner/ 00170
